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 8                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10
                                                  )
11    CHRYSOSTOM DOMINICUS,                       )    Case No. CV 21-2797-VBF (JEM)
                                                  )
12                        Petitioner,             )
                                                  )    JUDGMENT
13                 v.                             )
                                                  )
14    MR. RICHARD BURTON                          )
      WARDEN, CHCF,                               )
15                                                )
                          Respondent.             )
16                                                )

17
            In accordance with the Order Accepting Findings and Recommendations of United
18
      States Magistrate Judge filed concurrently herewith,
19
            IT IS HEREBY ADJUDGED that the action is dismissed with prejudice.
20

21
                                                         /s/ Valerie Baker Fairbank
22
      DATED: September 23, 2021
23                                                      VALERIE BAKER FAIRBANK
                                                      UNITED STATES DISTRICT JUDGE
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